                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT CHATTANOOGA

STEVEN WALKEY and KELLY                       §
WALKEY,                                       §
                                              §
                Plaintiffs,                   §   CASE NO.
                                              §
v.                                            §
                                              §
GURMAN TRUCKING, INC., and OSNY               §   JURY TRIAL DEMANDED
CELINY,                                       §
                                              §
                Defendants.


                                           COMPLAINT


        COMES NOW Steven Walkey and Kelly Walkey (hereinafter “Mr. Walkey” “Mrs.

 Walkey” or “Plaintiffs”), and files his complaint, and shows unto the Court as follows:

                                             PARTIES

       1. Mr. Walkey is a resident and citizen of the State of Georgia and domiciled therein.

       2. Mrs. Walkey is a resident and citizen of the State of Georgia and domiciled therein.

       3. Defendant, Gurman Trucking, Inc. (hereinafter “Gurman Trucking”) is a motor carrier

with its principal place of business located at 2020 E Algonquin Road, Suite 308, Schaumburg,

Illinois, 60173, and was transacting business in the State of Tennessee on the date at issue.

       4. Defendant Gurman Trucking can be served, according to the Federal Motor Carrier

Safety Administration, with a copy of the complaint and summons through its BOC-3 agent, Vivan

G. Mitchell, 4100 Westgate Drive, Knoxville, Tennessee 37921.

       5. Defendant Gurman Trucking is a motor carrier registered with U.S. Department of

Transportation under DOT number 1244207 and Motor Carrier number 489245.




Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 1 of 17 PageID #: 1
       6. Upon information and belief, Defendant Osny Celiny is a resident citizen of the State of

Florida and can be served with a copy of the complaint and summons at 851 N.E. 142nd Street,

Miami, Florida 33161.

                                    JURISDICTION & VENUE

       7. Jurisdiction is proper to this Court pursuant to 28 U.S.C. § 1332 as there is complete

diversity amongst the parties and the value in controversy exceeds $75,000, exclusive of interests

and costs.

       8. Venue is proper with this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

part of the events giving rise to the claim occurred within the judicial district.

                       RELATIONSHIP & DUTIES OF THE PARTIES

       9. Plaintiffs are members of the public.

       10. Defendant Gurman Trucking is an interstate motor carrier based out of Illinois.

       11. The provisions of 49 CFR §§ 301-399, commonly referred to as the “Federal Motor

Carrier Safety Regulations” or “FMCSR” are applicable to this case and both Defendant Gurman

Trucking and Defendant Osny Celiny were subject to and required to obey these regulations at the

time of the wreck and at all relevant times prior to the wreck.

       12. Defendant Gurman Trucking is the owner of the tractor operated by Defendant Osny

Celiny at the time of the wreck.

       13. Defendant Gurman Trucking is the owner of the trailer operated by Defendant Osny

Celiny at the time of the wreck.

       14. The tractor-trailer had a gross vehicle weight rating (GVWR) of 26,001 or more pounds,

making it a commercial motor vehicle.




                                                    2

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 2 of 17 PageID #: 2
       15. At the time of the wreck, Defendant Osny Celiny was an employee and/or agent of

Defendant Gurman Trucking.

       16. At all times relevant hereto, Defendant Osny Celiny was required to have a commercial

driver license “CDL.”

       17. 15. At all times relevant hereto, Defendant Osny Celiny was acting as a CDL driver for

Defendant Gurman Trucking and was acting within the scope and course of the business of

Defendant Gurman Trucking.

       18. At all times relevant hereto, Defendant Gurman Trucking was acting by and through its

employees/agents and is responsible for the acts of those employees and agents pursuant to

respondeat superior, agency, negligent entrustment, negligent hiring of an independent contractor,

or similar theory of law.

       19. At all times relevant hereto, Defendants were acting in a joint enterprise.

       20. Defendant Gurman Trucking was a for-hire motor carrier transporting property in

interstate commerce on the day of the wreck.

       21. Defendant Gurman Trucking had a duty to maintain the tractor-trailer to ensure the

safety of citizens on the roads, interstates and highways.

       22. Defendant Gurman Trucking had a duty to properly hire qualified tractor-trailer drivers

to ensure the safety of citizens on the roads, interstates and highways.

       23. Defendant Gurman Trucking had a duty to properly train its tractor-trailer drivers to

ensure the safety of citizens on the roads, interstates and highways.

       24. Defendant Osny Celiny had a duty to inspect the tractor-trailer before driving it to ensure

the safety of citizens on the roads, interstates and highways.




                                                  3

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 3 of 17 PageID #: 3
        25. Defendant Osny Celiny had a duty to give full attention to the traffic around him to

ensure the safety of citizens on the roads, interstates and highways.

        26. Defendant Osny Celiny had a duty to operate the tractor-trailer with the same care as

other similarly situated tractor-trailer drivers to ensure the safety of citizens on the roads, interstates

and highways.

                                      STATEMENT OF FACTS

        27. All preceding statements of the complaint are incorporated herein and realleged as if

expressly set forth herein.

        28. On November 10, 2021 at approximately 12:19 p.m., Defendant Osny Celiny was

driving a tractor-trailer owned by Defendant Gurman Trucking northbound on Interstate 75 in

Hamilton County, Tennessee.

        29. Defendant Osny Celiny was transporting property in interstate commerce for Defendant

Gurman Trucking.

        30. The weather was clear, and the interstate was dry, straight and level.

        31. In the area of the wreck, Interstate 75 is a divided public interstate highway with five

lanes of travel in the northbound direction before the Interstate 75/24 split.

        32. Traffic in lane two, awaiting the Interstate 24 exit, had slowed to nearly a standstill due

to a crash ahead.

        33. Defendant Gurman Trucking’s driver Celiny was driving in lane three of the five lanes

of travel as he approached the slowing and stopping traffic ahead of him in lane two.

        34. Traffic was proceeding normally in lane three.

        35. Defendant Gurman’s driver failed to maintain his lane and to slow the Gurman tractor-

trailer in response to the slowing and stopping traffic in lane two of the interstate.



                                                     4

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 4 of 17 PageID #: 4
          36. Instead of slowing the Gurman tractor-trailer in response to the traffic conditions,

Defendant Celiny maintained his speed and drove his tractor-trailer to the right, from lane three to

lane two, without regard for the vehicles already occupying that lane.

          37. The Gurman tractor trailer, as it moved right into lane two, smashed into the rear of the

tractor-trailer ahead of it and already occupying lane two.

          38. Inside the tractor trailer in lane two hit by Defendant Gurman’s tractor-trailer was Mr.

Walkey.

          39. Properly driven tractor trailers don’t hit vehicles in front of them.

          40. Properly maintained tractor trailers are able to stop prior to hitting vehicles in front of

them.

          41. Properly trained tractor trailer drivers don’t hit vehicles in front of them

          42. Properly driven and maintained tractor trailers are capable of staying in their lane of

travel.

          43. Defendant Gurman’s driver failed to give full attention to the roadway, endangering the

safety of Mr. Walker and other motorists.

          44. Defendant Gurman’s driver was driving in a distracted manner, endangering the safety

of Mr. Walker and other motorists.

          45. Defendant Gurman’s driver failed to maintain his lane of travel.

          46. Alternatively, Defendant Gurman’s driver failed to ensure that he could safely change

lanes before attempting to do so.

          47. Defendant Gurman’s driver failed to maintain a safe distance behind the slowing and

stopping traffic ahead of him.




                                                     5

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 5 of 17 PageID #: 5
        48. Defendant Gurman’s driver was following the traffic ahead of him too closely given the

traffic conditions then existing.

        49. Defendant Gurman’s driver failed to exercise the due care a licensed commercial motor

vehicle driver would use in the operation of the tractor-trailer.

        50. Defendant Gurman’s driver operated the Gurman tractor-trailer in a negligent, careless,

reckless, and dangerous manner.

        51. Defendant Gurman’s driver drove the tractor trailer as trained by Defendant Gurman

Trucking using the minimal reasonable care it expects from all of its drivers.

        52. Alternatively, Defendant Gurman’s driver failed to drive the tractor trailer as trained

by Defendant Gurman Trucking and did not use the minimum reasonable care it expects from all

of its drivers.

        53. Alternatively, the Gurman tractor trailer was mechanically unfit, causing the Gurman

driver to be unable to stop and/or stay in his lane of travel.

        54. As a direct and proximate result of the wreck, Mr. Walkey lost work and has been forced

to seek medical care for his injuries.

        55. No act of Mr. Walkey was a cause of the wreck.

        56. No failure to act by Mr. Walkey was a cause of the wreck.

        57. Mr. Walkey bears zero percent (0%) fault for the wreck.

        58. Mr. Walkey was economically and non-economically injured as a result of the wreck.

        59. Mrs. Walkey was deprived of her husband’s services and was temporarily and

permanently deprived of the companionship and society of her husband due to the injuries he

sustained, for all of which she should be provided restitution.

                                      COUNT I
                           NEGLIGENCE OF GURMAN TRUCKING

                                                    6

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 6 of 17 PageID #: 6
                    NEGLIGENT HIRING, TRAINING, ENTRUSTMENT,
                    SUPERVISION, RETENTION, AND MAINTENANCE

        60. All preceding statements and allegations of the complaint are incorporated and realleged

as if expressly set forth herein.

        61. Regardless of the employment relationship, Defendant Gurman Trucking is the

registered owner of DOT number 1244207 and MC number 489245, displayed on the tractor

involved in this wreck and is therefore responsible for the acts of the driver of that commercial

motor vehicle.

        62. At all times relevant to this cause of action, Defendants Gurman Trucking and Osny

Celiny were subject to and required to obey the minimum safety standards established by the

Federal Motor Carrier Safety Regulations (“FMCSR”) (49 CFR §§ 301-399), either directly or as

adopted by the Tennessee Department of Transportation Safety Rules & Regulations 1340-6-1-.08

and pursuant to T.C.A. §§ 65-15-101, 65-15-102 and 65-15-111.

        63. The FMCSR was enacted to prevent crashes involving members of the public, such as

Mr. Walkey.

        64. The Defendants will be shown at trial to have violated the Federal Motor Carrier Safety

Regulations which constitutes negligence per se, including but not limited to:

                 a. Part 383        Commercial Driver’s License Standards

                 b. Part 390        General

                 c. Part 391        Qualifications of Drivers

                 d. Part 392        Driving of Commercial Motor Vehicles

                 e. Part 393        Parts and Accessories Necessary for Safe Operation

                 f. Part 395        Hours of Service

                 g. Part 396        Inspections, Repairs, and Maintenance

                                                       7

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 7 of 17 PageID #: 7
       65. Defendant Gurman Trucking was required to teach and train Defendant Celiny to

understand and obey the rules and regulations contained in the FMCSR.

       66. Defendant Gurman Trucking was negligent, and grossly negligent, in:

                a. failing to properly maintain the tractor-trailer involved in the wreck;

                b. failing to properly inspect the tractor-trailer involved in the wreck;

                c. hiring and/or contracting with Defendant Celiny to drive the tractor-trailer at
                issue;

                d. failing to train Defendant Celiny on the provisions of the FMCSR and
                Commercial Driver’s Manual;

                e. failing to train Defendant Celiny to properly drive the tractor-trailer;

                f. failing to train Defendant Celiny to properly inspect the tractor-trailer;

                g. failing to train Defendant Celiny to properly maintain the tractor-trailer;

                h. entrusting Defendant Celiny with the tractor-trailer;

                i. failing to supervise Defendant Celiny while driving the tractor-trailer;

                j. retaining Defendant Celiny to drive the tractor-trailer;

                k. failing to conduct proper and required checks on the background of their
                employee, agent and/or contractor, Defendant Celiny; and

                l. failing to exercise ordinary care to determine their employees’ agents’ and/or
                contractors’ fitness for the task of driving a commercial vehicle interstate.

       67. Defendant Gurman Trucking had a duty to promulgate and enforce rules and regulations

to ensure its drivers and vehicles were reasonably safe and negligently failed to do so.

       68. According to the Complete Safety Measurement System (“SMS”) Profile, maintained

by the Federal Motor Carrier Safety Administration, Defendant Gurman Trucking previously

violated the federal regulations in the areas of unsafe driving, hours of service (HOS) compliance,




                                                  8

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 8 of 17 PageID #: 8
driver fitness, drugs/alcohol, and vehicle maintenance, as shown in the Violation Summary and

Inspection History below: 1




1
  Safety Measurement System – Complete SMS Profile (U.S. DOT # 1244207) downloaded September 28, 2022;
https://ai.fmcsa.dot.gov/SMS/Carrier/1244207/CompleteProfile.aspx.


                                                  9

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 9 of 17 PageID #: 9
       69. Defendant Gurman Trucking, through its agents and employees, knew, had reason to

 know, or should have known by exercising reasonable care, about the risks set forth in this




                                             10

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 10 of 17 PageID #: 10
 Complaint and that by simply exercising reasonable care these risks would be reduced or

 eliminated. These risks include, but are not limited to:

                 a. the risks associated with failing to properly maintain its tractor-trailer;

                 b. the risk associated with failing to properly inspect its tractor-trailer;

                 c. the risks associated with failing to properly repair its tractor-trailer;

                 d. the risks associated with unsafe and unqualified drivers;

                 e. the risks associated with failing to train drivers to obey the FMCSR;

                 f. the risks associated with failing to train drivers to follow minimum driving
                 standards for commercial drivers;

                 g. the risks associated with failing to train drivers to follow minimum inspection
                 standards for commercial drivers;

                 h. the risks associated with failing to train drivers to follow minimum maintenance
                 standards for commercial drivers;

                 i. failing to ensure its routes could be driven within hours-of-service;

                 j. requiring drivers to meet unrealistic driving goals which Defendant Gurman
                 Trucking knew, had reason to know, or should have known would cause its drivers
                 to violate the hours-of-service regulations;

                 k. failing to have policies and procedures in place to identify undertrained and
                 unqualified drivers;

                 l. failure to appropriately implement and enforce risk management policies and
                 procedures to monitor and assess Defendant Osny Celiny once he was hired; and

                 m. failing to use the composite knowledge reasonably available to Defendant
                 Gurman Trucking to analyze the data available to it to identify the risk, take steps
                 to reduce or eliminate the risk, and to protect members of the public from that risk.

         70. The negligence of Gurman Trucking was a proximate cause of the injuries sustained by

 Plaintiffs.

         71. As a result of Defendant Gurman Trucking’s actions and inactions, the Plaintiffs

 suffered injuries affecting his activities of normal daily living.

                                                    11

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 11 of 17 PageID #: 11
         72. The negligence, and gross negligence, of Defendant Gurman Trucking individually, or

 combined and concurring with the negligence of its driver Defendant Osny Celiny, was a legal and

 proximate cause of the damages to the Plaintiffs, for which he is entitled to receive restitution for

 past, present and future economic and non-economic damages to the extent allowed by law.

         73. The injuries suffered by the Plaintiffs are the type that are foreseeable consequences of

 a negligent act.

                                          COUNT II
                                  NEGLIGENCE OF OSNY CELINY

         74. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.

         75. At the time of the wreck, Defendant Osny Celiny failed to exercise due care by failing

 to drive the tractor-trailer at a safe speed, failing to maintain a safe lookout, failing to keep the

 tractor-trailer under proper control, failing to devote full time and attention to operating the tractor-

 trailer, and operating the tractor-trailer in such a manner that resulted in a crash with Mr. Walkey.

         76. The tractor-trailer driven by Defendant Osny Celiny was driven with the permission,

 and at the direction of, Defendant Gurman Trucking.

         77. Upon information and belief, the tractor-trailer driven by Defendant Osny Celiny was

 driven in the course and scope of his employment with the business of Defendant Gurman Trucking.

         78. At the time and place of this wreck, Defendant Celiny was generally negligent under the

 circumstances then and there existing in that he:

                    a. failed to keep a proper lookout;

                    b. failed to keep his vehicle under control;

                    c. failed to maintain a safe distance around his vehicle;

                    d. failed to slow his vehicle;

                                                     12

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 12 of 17 PageID #: 12
                  e. failed to overtake another vehicle to the left at a safe distance;

                  f. failed to maintain his lane of travel;

                  g. failed to ensure that he could safely change lanes;

                  h. failed to alter his direction of travel, or take any other appropriate action when
                     he, by the exercise of due and reasonable care, should have observed the
                     slowing tractor-trailer operated by Mr. Walkey in his lane of travel;

                  i. failed to operate his vehicle in a safe and prudent manner in view of the
                     conditions which existed at the time of the wreck;

                  j. drove in a careless manner;

                  k. drove in a reckless manner;

                  l. failed to operate his vehicle in a manner considerate of the safety and lives of
                     other persons lawfully on the roadway;

                  m. failed to inspect his vehicle in a manner considerate of the safety and lives of
                     the others persons lawfully on the road; and

                  n. such other actions or inactions that may be shown at a hearing of this cause.

         79. Defendant Celiny’s negligence was a direct and proximate cause of the wreck with Mr.

 Walkey.

         80. Defendant Celiny’s negligence was a direct and proximate cause of the injuries suffered

 by the Plaintiffs.

         81. As a result of Defendant Celiny’s actions and inactions, Mr. Walkey suffered injuries

 affecting his activities of normal daily living.

         82. The negligence, and gross negligence, of Defendant Celiny individually, or combined

 and concurring with the negligence of Defendant Gurman Trucking, was a legal and proximate

 cause of the damages to the Plaintiffs, for which they are entitled to receive restitution for past,

 present and future economic and non-economic damages to the extent allowed by law.



                                                    13

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 13 of 17 PageID #: 13
        83. The injuries suffered by the Plaintiffs are the type that are foreseeable consequences of

 a negligent act.

                                          COUNT III
                                      NEGLIGENCE PER SE

        84. All preceding statements of the complaint are incorporated herein and realleged as if

 expressly set forth herein.

        85. At the time and place of this wreck, Defendant Osny Celiny was negligent per se in that

 he violated one or more of the statutes of the State of Tennessee to include, but not be limited to:

                    a. T.C.A. § 55-8-103        Required Obedience to Traffic Laws;

                    b. T.C.A. § 55-8-117        Overtaking and Passing of Vehicles

                    c. T.C.A. § 55-8-123        Driving on Roadways Laned for Traffic;

                    d. T.C.A. § 55-8-124        Following Too Closely;

                    e. T.C.A. § 55-8-136(b)     Failure to Exercise Due Care;

                    f. T.C.A. § 55-8-142        Turning Movements;

                    g. T.C.A. § 55-8-199        Prohibited Uses of Wireless Telecommunications
                                                Devices or Stand-Alone Electronic Devices; and

                    h. T.C.A. § 55-10-205       Reckless Driving.

        86. Defendant Celiny was subject to the “Federal Motor Carrier Safety Regulations” 49

 CFR §§ 301-399 either directly, or as adopted by the Tennessee Department of Transportation

 Safety Rules & Regulations 1340-6-1-.08 and pursuant to T.C.A. §§ 65-15-101, 65-15-102 and 65-

 15-111, at the time and date of the wreck.

        87. Defendant Celiny will be shown at trial to have violated one or more of the Federal

 Motor Carrier Safety Regulations which constitutes negligence per se, including but not limited to:

                    a. Part 383   Commercial Driver’s License Standards



                                                   14

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 14 of 17 PageID #: 14
                    b. Part 390   General

                    c. Part 391   Qualifications of Drivers

                    d. Part 392   Driving of Commercial Motor Vehicles

                    e. Part 393   Parts and Accessories Necessary for Safe Operation

                    f. Part 395   Hours of Service

                    g. Part 396   Inspections, Repairs, and Maintenance

         88. The negligence, and gross negligence, of Defendant Celiny individually, or combined

 and concurring with the negligence of Defendant Gurman Trucking, was a legal and proximate

 cause of the damages to the Plaintiffs, for which he is entitled to receive restitution for past, present

 and future economic and non-economic damages to the extent allowed by law.

         89. The injuries suffered by the Plaintiffs are the type that are foreseeable consequences of

 a negligent act.

                                           COUNT IV
                                      RESPONDEAT SUPERIOR

         90. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.

         91. At all times relevant hereto, Defendant Gurman Trucking was acting by and through its

 employees/agents, among them Defendant Osny Celiny, and is responsible for the acts of those

 employees and agents pursuant to respondeat superior, agency, or similar theory of law.

                                               COUNT V
                                               DAMAGES

         92. All preceding statements and allegations of the complaint are incorporated herein and

 realleged as if expressly set forth herein.




                                                     15

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 15 of 17 PageID #: 15
         93. As a direct and proximate result of the Defendants’ negligence, the Plaintiffs was made

 to suffer economic and non-economic damages of a type for which the law allows them to seek

 restitution from Defendants.

         94. The damages suffered by the Plaintiffs fall within the foreseeable range of harms that

 result from Defendants’ negligence.

         95. As set forth more fully in the facts hereinabove, each of the Defendants acted in a willful,

 wanton and reckless manner which either alone, or combined and concurring with the actions of

 the other Defendants’ acts of negligence, directly and proximately caused the wreck and the

 Plaintiffs’ injuries.

         96. Defendants knowingly, intentionally, recklessly, and/or willfully disregarded the

 Federal Motor Carrier Safety Regulations.

         97. Defendants’ conduct constituted a conscious disregard for the life and safety of the Mr.

 Walkey, and for the lives and safety of the motoring public generally, and these Defendants are

 therefore liable for exemplary or punitive damages.

         WHEREFORE, Plaintiffs pray that the following relief be granted:

          a. A trial by jury;

          b. For Summons and Complaint to issue against Defendants;

          c. For judgment against the Defendants in an amount the jury believes to be just, fair and

              equitable, given the facts and after hearing the issues in this case, as restitution for

              Plaintiffs’ past, present, and future economic and non-economic damages;

          d. For an award of punitive damages against the Defendants in an amount the jury believes

              to be just, fair and equitable, given the facts and after hearing the issues in this case;

          e. For Court costs and discretionary costs; and



                                                    16

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 16 of 17 PageID #: 16
       f. For all such further and general relief which this Court deems just and proper.

                                            Respectfully submitted,

                                            TRUCK WRECK JUSTICE, PLLC


                                            BY: _/s/ Morgan G. Adams_____________
                                                  MORGAN G. ADAMS, BPR # 013693
                                                  DANNY R. ELLIS, BPR #020747
                                                  TRUCK WRECK JUSTICE, PLLC
                                                  1419 Market Street
                                                  Chattanooga, Tennessee 37402
                                                  Telephone:    (423) 265-2020
                                                  Facsimile:    (423) 265-2025


                                                    Attorneys for Plaintiffs




                                               17

Case 1:22-cv-00253-CEA-CHS Document 1 Filed 10/04/22 Page 17 of 17 PageID #: 17
